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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 12-118 (7) (JRT)

 UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                NOTICE OF APPEARANCE

 CHRISTOPHER WESSELS,

                      Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Katharine T. Buzicky

Dated: August 17, 2021                          Respectfully submitted,

                                                W. ANDERS FOLK
                                                Acting United States Attorney

                                                s/ Katharine T. Buzicky

                                                BY: KATHARINE T. BUZICKY
                                                Assistant U.S. Attorney
                                                Attorney ID No. 671031
